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                       Exhibit A

                Revised Proposed Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


    IN RE                                                        )    Chapter 11
                                                                 )
    LORDSTOWN MOTORS CORP., et. al.,1                            )    Case No. 23-10831-MFW
                                                                 )
                                                                 )    (Jointly Administered)
                             Debtors.                            )
                                                                 )    Re: Docket No. 990

            ORDER GRANTING MOTION OF THE U.S. SECURITIES AND
        EXCHANGE COMMISSION FOR ORDER FURTHER EXTENDING TIME
         TO TAKE ACTION TO DETERMINE THE DISCHARGEABILITY OF A
       DEBT TO A GOVERNMENTAL UNIT PURSUANT TO 11 U.S.C. § 1141(d)(6)

       Upon the motion (Dkt. No. 990, the “Motion”)2 of the U.S. Securities and Exchange

Commission (the “Commission”) for entry of an Order, pursuant to Rule 4007(c) of the Federal

Rules of Bankruptcy Procedure, to extend the time for the Commission to take action, to the

extent necessary, to determine the dischargeability of a debt to a governmental unit pursuant to

11 U.S.C. §1141(d)(6), and due and proper notice of the Motion having been given, and after due

deliberation and sufficient cause appearing therefor, it is ORDERED, ADJUDGED AND

DECREED:

         1.       The Motion is GRANTED as set forth herein.

         2.       To the extent an action under Section 1141(d)(6) of the Bankruptcy Code is

governed by Rule 4007(c) of the Federal Rules of Bankruptcy Procedure, the deadline for the

Commission to file a complaint or take any other action that may be required, if any, to


1
     The Debtors and the last four digits of their respective federal tax identification numbers are: Lordstown Motors
     Corp. (3229); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
     address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.

2
     Except as otherwise defined in this Order, capitalized terms shall have the meanings ascribed to such terms in
     the Motion.
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determine the dischargeability of a debt pursuant to Section 1141(d)(6) of the Bankruptcy Code

is extended to the earlier of March 18, 2024 or the Effective Date3 of the Plan, without prejudice

to the Commission’s right to seek further extensions, and without prejudice to the rights of other

parties in interest to oppose any such extensions.

        3.       Notwithstanding anything to the contrary in this Order, upon and following the

occurrence of the Effective Date of the Plan, the Commission agrees that it shall not file a

complaint or take any other action to determine the dischargeability of a debt with respect to the

Debtors pursuant to section 1141(d)(6) of the Bankruptcy Code.

        4.       Nothing in this Order constitutes a determination that any deadline exists for the

Commission to seek a determination of nondischargeability under Section 1141(d)(6) of the

Bankruptcy Code.

        5.       The Court retains jurisdiction to interpret and enforce the terms of this Order.




3
    “Effective Date” means the Effective Date as such term is defined in the Third Modified First Amended Joint
    Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors [Docket No. 1066] (the “Plan”).


                                                       2
